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11   Garfield Beach CVS, L.L.C.; and CaremarkPCS Health, L.L.C.

12
                                UNITED STATES DISTRICT COURT
13
                             NORTHERN DISTRICT OF CALIFORNIA
14
                                    SAN FRANCISCO DIVISION
15

16    JOHN DOE ONE; RICHARD ROE in his                No. 3:18-cv-1031-EMC
      capacity as executor for JOHN DOE TWO;
17    JOHN DOE FOUR, in his personal capacity         NOTICE OF MOTION AND
      and as the authorized representative of JOHN    MOTION TO DISMISS THE SECOND
18    DOE THREE; and JOHN DOE FIVE; on                AMENDED COMPLAINT (DKT. NO.
      behalf of themselves and all others similarly   162) BY CVS PHARMACY INC.,
19    situated,                                       CAREMARK, L.L.C., CAREMARK
                                                      CALIFORNIA SPECIALTY
20                                 Plaintiffs,        PHARMACY, L.L.C., GARFIELD
                                                      BEACH CVS, L.L.C., and
21                  v.                                CAREMARKPCS HEALTH, L.L.C.;
                                                      MEMORANDUM OF POINTS AND
22    CVS PHARMACY, INC.; CAREMARK,                   AUTHORITIES IN SUPPORT
      L.L.C.; CAREMARK CALIFORNIA                     THEREOF
23    SPECIALTY PHARMACY, L.L.C.;
      GARFIELD BEACH CVS, L.L.C.;
24    CAREMARKPCS HEALTH, L.L.C.; and                 Date: April 28, 2022
      DOES 1–10, inclusive,                           Time: 1:30 p.m. PT
25                                                    Courtroom 5, 17th Floor
                                   Defendants.        Judge: Hon. Edward M. Chen
26

27

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                                                                  CVS DEFENDANTS’ MOT. TO DISMISS
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 1                               NOTICE OF MOTION AND MOTION

 2   TO:    THE COURT, ALL PARTIES, AND ATTORNEYS OF RECORD:

 3          PLEASE TAKE NOTICE that on Thursday, April 28, 2022, at 1:30 p.m. PT, or as soon

 4   thereafter as this matter may be heard, in Courtroom 5, 17th Floor, United States Courthouse,

 5   450 Golden Gate Avenue, San Francisco, CA, Defendants CVS Pharmacy, Inc., Caremark,

 6   L.L.C., Caremark California Specialty Pharmacy, L.L.C., Garfield Beach CVS, L.L.C., and

 7   CaremarkPCS Health, L.L.C. (“Defendants”) will and hereby do move the Court for an order

 8   dismissing Plaintiffs’ Second Amended Class Action Complaint (“Second Amended

 9   Complaint”) with prejudice and without further leave to amend. This Motion is made pursuant

10   to Federal Rules of Civil Procedure 8 and 12(b)(6) on the grounds that:

11          a)      the Second Amended Complaint does not name any entity for which Plaintiffs

12   sufficiently allege both (i) responsibility for the allegedly discriminatory conduct and (ii) the

13   receipt of Federal funding necessary to demonstrate a violation of Section 1557 of the Affordable

14   Care Act (“ACA”);

15          b)      the Second Amended Complaint does not state a predicate violation of the ACA

16   and thus does not state a claim under the Unfair Competition Law, Cal. Bus. & Prof. Code

17   § 17200; and

18          c)      further amendment would be futile.

19          This Motion is based upon this Notice, the accompanying Memorandum of Points and

20   Authorities, any reply memorandum, the pleadings and files in this action, and such other matters

21   as may be presented at or before the hearing.

22

23   Dated: March 1, 2022                            Respectfully submitted,
24                                                   By: /s/ Craig D. Singer
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25                                                   Craig D. Singer (Pro Hac Vice)
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 7                               L.L.C.; Caremark California Specialty Pharmacy,
                                 L.L.C.; Garfield Beach CVS, L.L.C.; and
 8                               CaremarkPCS Health, L.L.C.

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 1                           STATEMENT OF ISSUES TO BE DECIDED
 2          1.      Have Plaintiffs plausibly alleged that each Defendant (i) is “principally engaged

 3   in the business of providing healthcare” and receives Federal financial assistance or (ii) certain of

 4   the Defendant’s “operations” receive Federal financial assistance and were engaged in the

 5   conduct that allegedly violates the ACA?

 6          2.      Have Plaintiffs plausibly alleged that each Defendant violated the ACA’s anti-

 7   discrimination provision?

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 1                                           INTRODUCTION

 2          After the Ninth Circuit directed that the Court address on remand whether the complaint

 3   states a claim under the “Federal financial assistance” element of the ACA, Plaintiffs undertook

 4   to amend their complaint, adding verbiage about “Federal financial assistance,” and naming two

 5   new CVS affiliates as defendants. The operative Second Amended Complaint presumably now

 6   includes all the factual allegations Plaintiffs could muster in support of their assertions that each

 7   of the five named Defendants received Federal financial assistance in connection with the

 8   conduct that allegedly violates the ACA’s nondiscrimination provision. Yet, the Second

 9   Amended Complaint falls woefully short of alleging a claim against any Defendant.

10          With respect to the two Defendants who are pharmacy benefit managers—Caremark,

11   L.L.C. and CaremarkPCS Health, L.L.C. (the “PBM Defendants”)—Plaintiffs do not allege that

12   either of them receives Federal financial assistance of any sort. The Second Amended

13   Complaint does not include even a single allegation addressing that subject for either entity.

14          With respect to the three Defendants who are pharmacies—CVS Pharmacy, Inc.,

15   Caremark California Specialty Pharmacy, L.L.C., and Garfield Beach CVS, L.L.C. (the

16   “Pharmacy Defendants”)—Plaintiffs do not plausibly allege that any of them is responsible for

17   the conduct they claim is discriminatory. Plaintiffs complain of certain terms of their employer-

18   sponsored health plans that require Plaintiffs to fill their prescriptions for specialty medicines

19   through mail-order delivery, rather than in-person at a “community pharmacy,” to obtain in-

20   network pricing. SAC ¶¶ 1, 69. Plaintiffs cannot plausibly allege that the Pharmacy Defendants

21   have anything to do with designing or administering those benefit plans. Pharmacies just fill

22   prescriptions.

23          Because Plaintiffs have not alleged a plausible ACA violation by any Defendant, the

24   Court should dismiss Count I. Dismissal of Count I also requires dismissal of Count II, under

25   Section 17200 of the California Business & Professions Code, because the Ninth Circuit held

26   that Count II depends on a predicate violation of the ACA. Because Plaintiffs filed the Second

27   Amended Complaint specifically to make their best case establishing an ACA violation after

28

                                                     -1-                    DEFENDANTS’ MOT. TO DISMISS
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 1   remand from the Ninth Circuit, the Court’s dismissal should be with prejudice. Any further

 2   amendment would be futile.

 3                                     PROCEDURAL POSTURE

 4          Plaintiffs filed this lawsuit in February 2018, and amended it in June 2018 to add

 5   additional defendants.1 Dkt. Nos. 1, 75. In December 2018, the Court issued a 40-page Order

 6   dismissing the Amended Complaint in its entirety. Dkt. No. 143. On appeal, the Ninth Circuit

 7   “vacate[d] the district court’s dismissal of [the] ACA claim and UCL claim to the extent it is

 8   predicated on a violation of the ACA,” but “affirm[ed] the district court’s dismissal of all other

 9   claims.” Dkt. No. 152 at 22–23.2 The Ninth Circuit held that Plaintiffs could state a claim for

10   disparate-impact discrimination under the ACA by alleging that Defendants denied them

11   “meaningful access to ‘[their] prescription drug benefit as a whole.’” Id. at 12.

12          Defendants argued to the Ninth Circuit that dismissal should be affirmed on the

13   alternative ground that the Amended Complaint did not sufficiently allege that the Defendants

14   receive “Federal financial assistance,” which is a prima facie requirement of an ACA

15   nondiscrimination claim. 42 U.S.C. § 18116 (forbidding discrimination under “any health

16   program or activity, any part of which is receiving Federal financial assistance”). Defendants’

17   motion to dismiss had raised that issue, but this Court did not need to reach it because the Court

18   dismissed the ACA claim on other grounds. The Ninth Circuit remanded with instructions that

19   this Court should address in the first instance whether Plaintiffs had adequately alleged that

20   Defendants satisfy the ACA’s “Federal financial assistance” requirement. Id. at 16 n.2; see also

21   42 U.S.C. § 18116; 42 C.F.R. § 92.3.

22
     1
23     The original defendants were CVS Health Corporation, CVS Pharmacy, Inc., CaremarkRx,
     L.L.C., Caremark, L.L.C., Caremark California Specialty Pharmacy, L.L.C., and Amtrak. In
24   May 2018, Plaintiffs voluntarily dismissed CVS Health Corporation and CaremarkRx, L.L.C.
     See Dkt. No. 63. In June 2018, Plaintiffs added two employer defendants, Time Warner, Inc.
25   and Lowes Companies. All claims against the three employer defendants were dismissed and
     affirmed on appeal. See Dkt. No. 159 at 2 n.1.
26   2
       The claims now dismissed were brought under the Americans with Disabilities Act, 42 U.S.C.
27   § 12182(a) (Count 2); Unruh Civil Rights Act, Cal. Civ. Code § 51(b) (Count 3); the Employee
     Retirement Income Security Act (“ERISA”), 29 U.S.C. § 1132(a)(1)(B), (a)(3) (Counts 5–7); and
28   for a “declaration of rights” (Count 8).
                                                    -2-                   DEFENDANTS’ MOT. TO DISMISS
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 1          After remand, Defendants reiterated that they intended to challenge the Amended

 2   Complaint because it “does not name any entity for which Plaintiffs sufficiently allege both

 3   responsibility for the allegedly discriminatory conduct and receipt of the necessary federal

 4   funding.” Dkt. No. 159 at 2–3. Plaintiffs wished to amend their complaint to address these

 5   issues prior to any motion, so, the Parties agreed that Plaintiffs would file another amended

 6   complaint to specify “the identity of the defendants and the federal financial assistance they

 7   allegedly receive.” Id. at 2. Plaintiffs thus filed their Second Amended Complaint on March 31,

 8   2021. See Dkt. No. 162. The pleading adds as Defendants Garfield Beach CVS, L.L.C. and

 9   CaremarkPCS Health, L.L.C., in addition to the three existing Defendants: Caremark, L.L.C.,

10   CVS Pharmacy, Inc., and Caremark California Specialty Pharmacy, L.L.C.

11          On April 13, 2021, the Court stayed these proceedings pending a petition for certiorari to

12   the Supreme Court from the Ninth Circuit’s ruling. Dkt. No. 168; see also Dkt. No. 172

13   (extending stay after grant of certiorari). On November 12, 2021, the Supreme Court dismissed

14   the petition by joint stipulation of the Parties. See Dkt. No. 177. On February 7, 2022, following

15   a status conference, the Court adopted the Parties’ agreed briefing schedule for this motion to

16   dismiss. See Dkt. No. 182.

17                                     FACTUAL BACKGROUND3

18          A.      The Plaintiffs and Their Claims

19          According to the Second Amended Complaint, Plaintiffs are five individuals, proceeding

20   anonymously, who take medicines that treat HIV/AIDS. SAC ¶¶ 9–13. 4 Plaintiffs received

21   prescription drug coverage through health plans sponsored by their employers, who once were,

22   but no longer are, defendants in this case.

23          Through this action, Plaintiffs seek to represent a nationwide class of certain purchasers

24   of HIV/AIDS drugs. SAC ¶ 137. Plaintiffs say that their health plans’ requirement that they

25   3
        Except as noted, this Motion recites the facts pled in the Second Amended Complaint, which
     must be taken as true for present purposes. Defendants dispute the allegations against them.
26   4
        Two of the Plaintiffs have passed away and the executors of their estates have substituted as
27   plaintiffs. Defendants consented to the substitution as a procedural matter while preserving all
     defenses to the substituted plaintiffs’ claims, including that the claims did not survive the named
28   plaintiffs’ deaths. See Dkt. No. 178 at 2.
                                                    -3-                   DEFENDANTS’ MOT. TO DISMISS
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 1   obtain “specialty medicines” by mail through Caremark California Specialty Pharmacy, L.L.C.,

 2   or by shipment to a CVS retail pharmacy, “results in a reduction in or elimination of health

 3   plans’ drug benefits.” Id. ¶ 69. If members fill their prescriptions at other pharmacies, they must

 4   pay “out-of-network” prices. Id. ¶¶ 1, 69. With a mail-order pharmacy, Plaintiffs claim, they

 5   miss out on the “advice and counseling” provided during “face-to-face interactions” with

 6   pharmacists at community pharmacies. Id. ¶ 71. The plans’ requirements apply to all specialty

 7   medications, not just to those that treat HIV/AIDS. See e.g., id. ¶¶ 44, 82.

 8          B.       The Defendants

 9          The Defendants are five direct or indirect subsidiaries of the non-party healthcare holding

10   company CVS Health Corporation:5 CVS Pharmacy, Inc.; Garfield Beach CVS, L.L.C.,

11   Caremark California Specialty Pharmacy, L.L.C.; Caremark, L.L.C.; and CaremarkPCS Health,

12   L.L.C. SAC ¶¶ 14–17. These companies fall into two distinct groups: pharmacy benefit

13   managers and pharmacies.

14          Caremark, L.L.C. and CaremarkPCS Health, L.L.C. are pharmacy benefit managers, or

15   “PBMs.” SAC ¶ 15.6 A PBM contracts with health plans sponsored by employers, insurers, and

16   government agencies to administer the prescription benefit offered under the client’s health plan.

17   See Geyerman Ex. A, CVS Health Corporation 10-K at Ex. 21.1, at 3; see also SAC ¶ 118 &

18   n.72 (citing and quoting the 10-K). 7 Among other things, the PBM’s services typically include

19   assisting clients with designing their prescription benefit; developing a network of pharmacies

20   available to the clients’ members at preferential rates; “adjudicating” claims (i.e., determining if

21   the member is a plan-enrollee, if the drug is covered, and what cost-sharing applies); and other

22
     5
23    The Court would lack personal jurisdiction over CVS Health Corporation. See Corcoran v.
     CVS Health Corp., 169 F. Supp. 3d 970, 984 (N.D. Cal. 2016).
24   6
       See also Order, Dkt. No. 143, at 25–27 (relying on the contracts with Plaintiffs’ employers, by
25   which CaremarkPCS Health, L.L.C. agrees to provide “prescription benefit management”
     services).
26   7
      “[A] district court ruling on a motion to dismiss may consider a document the authenticity of
27   which is not contested, and upon which the plaintiff’s complaint necessarily relies.” Parrino v.
     FHP, Inc., 146 F.3d 699, 706 (9th Cir. 1998); see also Dep’t of Fair Emp. & Hous. v. Law Sch.
28   Admission Council, Inc., 896 F. Supp. 2d 849, 853, 867 (N.D. Cal. 2012) (Chen, J.).
                                                     -4-                   DEFENDANTS’ MOT. TO DISMISS
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 1   plan-administrative services. A PBM is not a health plan or insurance company and does not

 2   itself provide prescription drug coverage to its clients’ members.

 3          The other three defendants operate pharmacies. CVS Pharmacy, Inc. operates CVS retail

 4   pharmacy locations, directly and through subsidiaries, throughout the country. 8 Garfield Beach

 5   CVS, L.L.C. is a direct subsidiary of CVS Pharmacy, Inc. that operates retail pharmacy locations

 6   (i.e., brick-and-mortar stores) in California. SAC ¶ 17. The retail pharmacy locations “sell[]

 7   prescription drugs and a wide assortment of health and wellness products and general

 8   merchandise.” Geyerman Ex. A, CVS Form 10-K (2020) at 5. By contrast, Caremark California

 9   Specialty Pharmacy, L.L.C. is not a retail pharmacy but a specialty pharmacy, which handles

10   “specialty medicines”—typically high-cost or high-touch medications for complex diseases. It

11   delivers through the mail prescriptions it fills for patients. SAC ¶ 15.

12                                         LEGAL STANDARD

13          To survive a motion to dismiss, a complaint must contain “a short and plain statement of

14   the claim showing that the pleader is entitled to relief.” Fed. R. Civ. P. 8(a)(2). When a

15   defendant moves for dismissal for failure to state a claim pursuant to Rule 12(b)(6), “a court

16   must take all allegations of fact as true and construe them in the light most favorable to the

17   nonmoving party.” Sloan v. Gen. Motors LLC, 287 F. Supp. 3d 840, 852 (N.D. Cal. 2018)

18   (Chen, J.). “[C]onclusory allegations of law and unwarranted inferences are insufficient to avoid

19   a Rule 12(b)(6) dismissal.” Id. (quoting Cousins v. Lockyer, 568 F.3d 1063, 1067 (9th Cir.

20   2009)). Well-pled factual allegations must enable the court to “draw the reasonable inference

21   that the defendant is liable for the misconduct alleged.” Id. (quoting Ashcroft v. Iqbal, 556 U.S.

22   662, 678 (2009)). “A pleading that offers ‘labels and conclusions’ or ‘a formulaic recitation of

23   the elements of a cause of action will not do.’ Nor does a complaint suffice if it tenders ‘naked

24   8
       The SAC contains no factual allegations specific to CVS Pharmacy, Inc.’s operations, other
     than that it “is part of CVS Caremark’s Pharmacy Services Segment and/or Retail/LTC
25   Segment.” SAC ¶ 135. Nonetheless, the Court may take judicial notice of the fact that CVS
26   Pharmacy, Inc. operates retail pharmacy stores. Kilby v. CVS Pharmacy, Inc., 2012 WL
     1969284, at *1 (S.D. Cal. May 31, 2012) (finding that it is “not reasonably in dispute” that CVS
27   Pharmacy, Inc., directly or indirectly, “operates approximately 850 retail pharmacy stores in
     California”). CVS Pharmacy, Inc. is not a PBM, but it is the indirect parent company of the two
28   PBM Defendants discussed above.
                                                    -5-                    DEFENDANTS’ MOT. TO DISMISS
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 1   assertion[s]’ devoid of ‘further factual enhancement.’” Iqbal, 556 U.S. at 678 (2d alternation in

 2   original) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555, 557 (2007)).

 3                                               ARGUMENT

 4             Plaintiffs’ Second Amended Complaint does not state a plausible claim against any of the

 5   five Defendants. It does not allege facts showing that the two PBM defendants—Caremark,

 6   L.L.C. (“Caremark”) and CaremarkPCS Health, L.L.C. (“CaremarkPCS”)—receive Federal

 7   financial assistance. And it does not plausibly allege that the pharmacy defendants—CVS

 8   Pharmacy, Inc. (“CVS Pharmacy”), Garfield Beach CVS, L.L.C. (“CVS Garfield”), and

 9   Caremark California Specialty Pharmacy, L.L.C. (“CSP”)—are responsible for the allegedly

10   discriminatory conduct.

11   I.        THE SAC DOES NOT STATE A CLAIM AGAINST THE PBM DEFENDANTS.
12             The ACA’s anti-discrimination provision reaches only those health programs or activities

13   “receiving Federal financial assistance.” 42 U.S.C. § 18116. Federal financial assistance

14   includes “credits, subsidies, or contracts of insurance,” and other direct forms of compensation,

15   provided by HHS. 42 C.F.R. § 92.3(a). Unless an entity is “principally engaged in the business

16   of providing healthcare,” the ACA’s requirements “shall apply to such entity’s operations only to

17   the extent any such operation receives Federal financial assistance.” Id. § 92.3(b) (emphasis

18   added).

19             Applying these rules, the ACA’s anti-discrimination provision applies in one of two

20   circumstances: (1) when the entity-defendant is principally engaged in the business of providing

21   health care, if the entity receives Federal financial assistance in any respect, or (2) for a

22   defendant not principally engaged in the business of providing healthcare, only when the entity’s

23   specific “operation” alleged to be discriminatory receives Federal financial assistance. Although

24   Section 1557 does not define “the business of providing healthcare,” “the overarching theme of

25   [the case law] is that health care providers offer some form of treatment or direct assistance to

26   individuals.” Drachman v. Bos. Sci. Corp., 258 F. Supp. 3d 207, 212 (D. Mass. 2017).

27             In the 167 paragraphs of the Second Amended Complaint, Plaintiffs nowhere allege that

28   the PBM Defendants receive Federal financial assistance, whether generally or with respect to

                                                      -6-                    DEFENDANTS’ MOT. TO DISMISS
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 1   their allegedly discriminatory operations. All that Plaintiffs allege as to Caremark is that it “is a

 2   pharmacy benefit manager (‘PBM’) that owns and exercises control over CSP,” that it contracts

 3   with “[e]mployer plan sponsors” “as part of the arrangement to use specialty pharmacy services,”

 4   and that it “is the entity responsible for establishing the Specialty Pharmacy Distribution Drug

 5   List (formulary).” SAC ¶¶ 15–16. As for CaremarkPCS, Plaintiffs allege nothing more than it

 6   “is a direct subsidiary of Defendant Caremark Rx, L.L.C.” Id. ¶ 135.9 There are no other

 7   allegations with respect to either PBM entity, much less allegations about their receipt of Federal

 8   financial assistance.

 9          Rather than make allegations about Caremark or CaremarkPCS, the Second Amended

10   Complaint alleges that “CVS Health Corporation, the parent company of the CVS Caremark

11   defendants, is a health care entity that receives Federal financial assistance” “under the Medicare

12   Part D program and other government programs.” SAC ¶¶ 104, 121 (emphasis added). That

13   allegation is irrelevant because CVS Health Corporation is not a defendant. To state a claim

14   under the ACA, a plaintiff must allege that the named defendant—the “entity,” in regulatory

15   parlance—receives Federal financial assistance. 42 C.F.R. § 92.3(b). An “entity” is an

16   “organization (such as a business or a governmental unit) that has a legal identity apart from its

17   members or owners.” Entity, Black’s Law Dictionary (11th ed. 2019). Caremark and

18   CaremarkPCS are the “entities” being sued, and Plaintiffs’ burden was to allege facts

19   demonstrating that they—and not a corporate affiliate not named as a defendant—receive

20   Federal financial assistance. See, e.g., Vang v. State Farm Mut. Auto. Ins. Co., 2021 WL

21   5761002, at *12 (C.D. Ill. Dec. 3, 2021) (allegation that “a subsidiary of Defendant receives

22   federal financial assistance” is insufficient to establish “Defendant receives federal assistance”);

23   see also Ahlstrom v. DHI Mortg. Co., 21 F.4th 631, 636 (9th Cir. 2021) (“Courts adhere to the

24   fundamental principle that corporations, including parent companies and their subsidiaries, are

25   treated as distinct entities.”). Nor would any naked allegation that the named defendant is

26   “inextricably intertwined” with another company which receives funds, without more, suffice to

27
     9
      In point of fact, Caremark Rx, L.L.C. is not a defendant. See Dkt. No. 63 (dismissing
28   Caremark Rx, L.L.C.).
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 1   state a claim. See, e.g., Dunlap v. Ass’n of Bay Area Gov’ts, 996 F. Supp. 962, 968 (N.D. Cal.

 2   1998) (“[E]ntities that indirectly ‘benefit’ from federal aid, or that are ‘inextricably intertwined’

 3   with actual recipients, are not on that basis covered.”).

 4          The Second Amended Complaint does not allege that Caremark and CaremarkPCS, two

 5   PBMs, are among the subsidiary entities of CVS Health Corporation that receive Federal

 6   financial assistance “under the Medicare Part D program and other government programs.” SAC

 7   ¶ 121. Medicare Part D is a government-funded “prescription drug benefit program for seniors,”

 8   through which “health insurance providers contract with [CMS] to offer Part D prescription drug

 9   plans (‘PDPs’) to Medicare beneficiaries.” Do Sung Uhm v. Humana, Inc., 620 F.3d 1134, 1138

10   (9th Cir. 2010). Caremark and CaremarkPCS are not health insurance providers; they do not

11   contract with CMS; and they do not sponsor PDPs for Medicare beneficiaries. The Second

12   Amended Complaint does not allege otherwise. Although the Second Amended Complaint

13   quotes extensively from CVS Health Corporation’s Form 10-K, see generally SAC ¶¶ 118–121,

14   that securities filing states that a CVS Health affiliate named “SilverScript Insurance Company”

15   operates a “standalone Medicare Part D prescription drug plan.” Geyerman Ex. A, CVS Form

16   10-K (2020) at 2, 8; id. at Ex. 21.1. SilverScript is not a defendant in this case.

17          As for the vague allegation about “other government programs,” the Second Amended

18   Complaint quotes CVS Health Corporation’s securities filing, which explains that “[i]n select

19   geographies, the Health Care Benefits segment [of CVS Health Corporation] offers Medicare

20   Advantage plans, Medicare Supplement plans and prescription drug coverage for Medicare

21   beneficiaries.” SAC ¶ 121. But as Plaintiffs acknowledge in the complaint, because the two

22   PBM Defendants provide “PBM services,” they fall within CVS Health Corporation’s

23   “Pharmacy Services Segment,” id. ¶ 130, not the “Health Care Benefits segment.” The Health

24   Care Benefits segment refers to the holding company’s “health insurance products and related

25   services.” Geyerman Ex. A, CVS Health Corp. Form 10-K (2020) at 8. In short, there are no

26   well-pled allegations that either PBM Defendant receives Federal financial assistance. 10

27
     10
       To be clear, Defendants do not concede that all entities within the “Health Care Benefits”
28   segment receive Federal financial assistance.
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 1           Plaintiffs were required not only to allege that Caremark and CaremarkPCS receive

 2   Federal financial assistance, but also to identify which of each entity’s specific “operations”

 3   receive such funding. 42 C.F.R. § 92.3(b). That is because, as PBMs, neither entity is

 4   “principally engaged in the business of providing healthcare.” Id.; see Drachman, 258 F. Supp.

 5   3d at 212 (“providing healthcare” means “offer[ing] some form of treatment or direct assistance

 6   to individuals”). The Second Amended Complaint does not claim otherwise. And it does not

 7   specify any “operation” of Caremark or CaremarkPCS that receives Federal financial assistance.

 8           Because the Second Amended Complaint does not allege that Caremark and

 9   CaremarkPCS receive Federal financial assistance, the Court should dismiss the ACA claims

10   against those entities.

11   II.     THE SAC DOES NOT STATE A CLAIM AGAINST THE PHARMACY
             DEFENDANTS.
12
             The Court should dismiss the claims against CVS Pharmacy, Garfield CVS, and CSP
13
     because the Second Amended Complaint does not plausibly allege that they violated the anti-
14
     discrimination provisions of the ACA.
15
             Plaintiffs’ claim of discrimination hinges on the design of their employer-sponsored
16
     health plans. See SAC ¶ 106 (“Section 1557 specifically delineates the design of plan benefits as
17
     a potentially discriminatory practice”). For this reason, the Second Amended Complaint alleges
18
     (vaguely and without differentiation) that “Defendants” designed a benefit-plan structure that
19
     requires beneficiaries to use a specialty pharmacy for all specialty medicines, “providing
20
     members with no realistic alternative or clear notice of their option not to do so, to the exclusion
21
     of their trusted community pharmacy and/or specialty pharmacist.” Id. ¶ 20. Plaintiffs allege
22
     that this so-called “Program” is discriminatory because certain HIV/AIDS medications have
23
     been designated “as specialty medications” and are thus “subject to the mandatory requirements
24
     of the Program.” Id. ¶ 95. In other words, by “requir[ing] all health plan enrollees to obtain
25
     specialty medications, including HIV/AIDS drugs, through [a] designated specialty pharmacy for
26
     those benefits to be considered ‘in-network’ . . . this program violates the anti-discrimination
27

28

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 1   provisions of the Affordable Care Act.” Doe v. CVS Pharmacy, Inc., 982 F.3d 1204, 1207 (9th

 2   Cir. 2020).

 3          Of course, pharmacies are not in the business of designing health plans, much less

 4   imposing restrictions on the benefits Plaintiffs’ plan sponsors offer. Pharmacies dispense

 5   medicines, and the price they charge to a given customer may be dictated by the terms of a

 6   benefit plan, but designing those plan terms is not the pharmacy’s function. Pharmacies, for

 7   example, do not manage the formularies of drugs available under a health plan or decide what

 8   drugs are “specialty medicines.” Nor do pharmacies set the conditions for charging the member

 9   an in-network or an out-of-network price—those are all determined by the plan. 11 The Second

10   Amended Complaint does not contain any well-pled allegation to the contrary.

11          Indeed, Plaintiffs’ thesis is that “plan design offerings and administration” and

12   “formulary management” are core services offered to health plans by a PBM, SAC ¶ 132, but

13   (tellingly) there is no similar allegation claiming that these are functions of a pharmacy.

14   Notably, the Second Amended Complaint relies extensively on CVS Health Corporation’s Form

15   10-K, see, e.g., id. ¶¶ 118–121; that document elaborates on what “PBM services” entail:

16                  Plan Design Offerings and Administration
                    The Company administers pharmacy benefit plans for clients who
17
                    contract with it to facilitate prescription drug coverage and claims
18                  processing for their eligible plan members. The Company assists
                    its PBM clients in designing pharmacy benefit plans that help
19                  improve health outcomes while minimizing the costs to the client.
                    The Company also assists PBM clients in monitoring the
20                  effectiveness of their plans through frequent, informal
21                  communications, the use of proprietary software, as well as
                    through formal annual, quarterly and sometimes monthly
22                  performance reviews.

23                  The Company makes recommendations to help PBM clients design
                    benefit plans that promote the use of lower cost, clinically
24                  appropriate drugs and helps its PBM clients control costs by
25   11
        Compare, e.g., Cal. Health & Safety Code § 1385.001 (a PBM “means a person, business, or
26   other entity that, pursuant to a contract with a health care service plan, manages the prescription
     drug coverage provided by the health care service plan”), with Cal. Bus. & Prof. Code § 4050(b)
27   (“Pharmacy practice is a dynamic, patient-oriented health service that applies a scientific body of
     knowledge to improve and promote patient health by means of appropriate drug use, drug-related
28   therapy, and communication for clinical and consultative purposes.”).
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 1                  recommending plan designs that encourage the use of generic
                    equivalents of brand name drugs when such equivalents are
 2                  available. Clients also have the option, through plan design, to
 3                  further lower their pharmacy benefit plan costs by setting different
                    member payment levels for different products on their drug lists or
 4                  “formularies,” which helps guide members to choose lower cost
                    alternatives through appropriate financial incentives.
 5

 6   Geyerman Ex. A, CVS Health Corp. Form 10-K (2020) at 3. Appreciating that assisting health

 7   plans with plan design, formulary management, and claim processing are the responsibility of

 8   PBMs, not pharmacies, Plaintiffs allege that PBM Defendant Caremark—and not any of the

 9   Pharmacy Defendants—is “the entity responsible for establishing the Specialty Pharmacy

10   Distribution Drug List (formulary),” which makes “‘HIV Medications’ . . . subject to the

11   mandatory requirements of the Program.” SAC ¶¶ 16, 95.

12          The Second Amended Complaint alleges that “CSP and CVS Caremark exercise[]

13   discretion in establishing drug formularies” and cites “CVS Caremark’s” website as stating

14   “[d]evelopment and management of drug formularies is an integral component in the pharmacy

15   benefit management (PBM) services CVS Caremark provides.” SAC ¶ 100 & n.71. To the

16   extent Plaintiffs intend to allege that CSP establishes formularies and provides PBM services, the

17   allegation is conclusory. Plaintiffs do not explain what CSP allegedly does in that regard. The

18   allegation is also implausible: As Plaintiffs correctly alleged in the Amended Complaint, “CSP

19   only delivers [] medications by mail order or mails them to a CVS Pharmacy as a drop shipment

20   location purely for pickup.” Amend. Compl., Dkt No. 75, ¶ 1. Pharmacies dispense medicines;

21   PBMs manage formularies. See SAC ¶¶ 16, 95.

22          As the Ninth Circuit concluded, Plaintiffs “allege the structure and implementation of the

23   Program discriminates against them on the basis of their disability by preventing HIV/AIDS

24   patients from obtaining the same quality of pharmaceutical care that non-HIV/AIDS patients

25   may obtain in filling non-specialty prescriptions, thereby denying them meaningful access to

26   their prescription drug benefit.” Doe, 982 F.3d at 1211. The Second Amended Complaint does

27   not plausibly allege that CVS Pharmacy, Garfield CVS, or CSP are responsible for the structure

28   or the implementation of the plan terms that allegedly discriminate against them.

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 1   III.   THE SAC’S UCL CLAIM FAILS BECAUSE THE ACA CLAIM FAILS.

 2          The Ninth Circuit reinstated Plaintiffs’ claim for “unlawful” business practices under the

 3   Unfair Competition Law (“UCL”), Cal. Bus. & Prof. C. §§ 17200–17210, solely because it

 4   reinstated the predicate claim under the ACA. Doe, 982 F.3d at 1214. Because Plaintiffs have

 5   not alleged a plausible ACA claim for the reasons described above, Plaintiffs’ UCL claim fails as

 6   well. See, e.g., Cullen v. Netflix, Inc., 880 F. Supp. 2d 1017, 1028 (N.D. Cal. 2012) (dismissing

 7   UCL claim where plaintiff failed to state a claim for predicate violations).

 8                                            CONCLUSION

 9          The Court should dismiss the Second Amended Complaint. Because Plaintiffs have

10   already amended twice, including most recently to add additional defendants and assert their

11   basis for claiming each received Federal financial assistance, this dismissal should be with

12   prejudice.

13

14   Dated: March 1, 2022                          Respectfully submitted,

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22                                                 Beach CVS, L.L.C.

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